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 9
                           UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     LOS ANGELES WATERKEEPER, a                Civil Case No. 15-cv-04326 MWF-JEM
12   California non-profit corporation,
13                                             PLAINTIFF’S MOTION FOR
                    Plaintiff,                 DEFAULT JUDGMENT;
14        vs.                                  MEMORANDUM OF POINTS AND
15                                             AUTHORITIES IN SUPPORT
     A AND A METAL RECYCLING, INC., a          THEREOF
16   California corporation; SINDY CARDONA,
17   an individual;                            Honorable Judge Michael W. Fitzgerald
                     Defendants.
18                                             Hearing Date: November 16, 2015
                                               Hearing Time: 10:00 a.m.
19                                             Location: Courtroom: 1600, 16th Floor
20                                             Fed. R. Civ. Pro. 55(b)(2)
21                                             Civil Local Rule 55-1
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 1   I.         INTRODUCTION
 2            Plaintiff Los Angeles Waterkeeper (“Plaintiff”) hereby requests that the Court
 3   enter default judgment in this matter against defendants A and A Metal Recycling, Inc.
 4   and Sindy Cardona (“Defendants”) pursuant to Local Rule 55-1 and Federal Rule of Civil
 5   Procedure (“Rule”) 55(b)(2) of the Federal Rules of Civil Procedure. The Clerk of the
 6   above-entitled court entered default against each Defendant on September 9, 2015. See
 7   ECF Dkt. No. 17.
 8   II.        LEGAL BACKGROUND
 9             A.     Statutory Basis for Entry of Default Judgment.
10            Rule 55(b) provides this Court authority to enter a default judgment against
11   Defendant. Fed. R. Civ. P. 55(b)(2). District courts are vested with broad discretion in
12   deciding whether to enter a default judgment. Pepsico, Inc. v. Triunfo-Mex, Inc., 189
13   F.R.D. 431, 432 (C.D. Cal. 1999) (listing factors courts consider in exercising discretion
14   under Rule 55); see also United States v. Scharringhausen, 2003 U.S. Dist. LEXIS
15   23417, at *2 (S.D. Cal. Nov. 4, 2003) (citing Eitel v. McCool, 782 F.2d 1470, 1471-72
16   (9th Cir. 1986). “An allegation—other than one relating to the amount of damages—is
17   admitted if a responsive pleading is required and the allegation is not denied.” Fed. R.
18   Civ. P. 8(b)(6); see also Geddes v. United Fin. Group, 559 F.2d 557, 560 (9th Cir. 1977)
19   (“The general rule of law is that upon default the factual allegations of the complaint,
20   except those relating to the amount of damages, will be taken as true.”) (citing Pope v.
21   United States, 323 U.S. 1, 12 (1944)).
22             B.     The Clean Water Act.
23            The Complaint sets out, in detail, the legal background and statutory basis for this
24   citizen suit and Defendant’s violations of the Clean Water Act.1 ECF Dkt. No. 1 at ¶¶ 30-
25   100. In particular, section 301(a) of the Clean Water Act prohibits the discharge of any
26   pollutant into waters of the United States not authorized by, or in violation of, the terms
27
28   1
         Federal Water Pollution Control Act, 33 U.S.C. §§ 1251 et seq.
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 1   of a National Pollutant Discharge Elimination System (“NPDES”) permit issued pursuant
 2   to Section 402 of the Clean Water Act. 33 U.S.C. §§ 1311(a), 1342(a).
 3          C.      The California Storm Water Permit.
 4          Pursuant to section 402 of the Clean Water Act, in 1992, California issued its
 5   NPDES General Permit No. CAS000001 [State Water Resources Control Board] (“Storm
 6   Water Permit”), by Water Quality Order No. 92-12-DWQ. The Storm Water Permit was
 7   reissued in 1997 by Order No. 97-03-DWQ, and reissued again in April 2014 by Order
 8   No. 2014-0057-DWQ. The terms of the most recent 2014 reissuance of the Storm Water
 9   Permit took effect on July 2, 2015, and are as stringent, or more stringent, than the 1997
10   reissuance of the Storm Water Permit. Both the 1997 and 2014 versions of the Storm
11   Water Permit are available at
12   http://www.waterboards.ca.gov/water_issues/programs/stormwater/docs/induspmt.pdf.2
13          California’s Storm Water Permit is a statewide general NPDES permit issued by
14   the State Board pursuant to section 402 of the Clean Water Act. See Storm Water Permit,
15   Finding No. 15. In order to discharge storm water lawfully in California, industrial storm
16   water dischargers must secure coverage under the Storm Water Permit and comply with
17   its terms. Violations of the Storm Water Permit are violations of the Clean Water Act.
18   See Storm Water Permit, Section C(1).
19                  1.     Effluent Limitation B(3).
20          Effluent Limitation (B)(3) of the Storm Water Permit requires dischargers to
21   reduce or prevent pollutants associated with industrial activity in storm water discharges
22   through the implementation of Best Available Technology Economically Achievable
23   (“BAT”) for toxic or non-conventional pollutants and Best Conventional Pollutant
24   Control Technology (“BCT”) for conventional pollutants.3 EPA’s NPDES Multi-Sector
25
     2
26     All citations to the Storm Water Permit are to the 1997 reissuance. Citations to the 2014 reissuance
     will be noted as “2014 Storm Water Permit.”
27   3
       Toxic pollutants are listed at 40 C.F.R. § 401.15 and include copper, lead, and zinc, among others.
     Conventional pollutants are listed at 40 C.F.R. § 401.16 and include biological oxygen demand, total
28   suspended solids, oil and grease and pH, among others.
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 1   General Permit for Stormwater Discharges Associated With Industrial Activity
 2   (“MSGP”)4 sets numeric benchmark levels for pollutant concentrations in storm water
 3   discharges (“EPA Benchmark”), which provide an objective standard to determine
 4   whether a facility’s Best Management Practices (“BMPs”) are successfully developed
 5   and implemented. See ECF Dkt. No 1 at ¶¶ 44-47, 242-244; see also 65 Fed. Reg. at
 6   64,746, 64,766-67 (Oct. 30, 2000) (2000 MSGP) (“benchmarks also provide an
 7   appropriate level to determine whether a facility's storm water pollution prevention
 8   measures are successfully implemented."); see also 2008 MSGP at 35, and 2008 MSGP
 9   Fact Sheet at 95-106. The Storm Water Permit requires one or more BMPs be developed
10   and implemented for each pollutant and its source. See Storm Water Permit, Section
11   A(8); see also ECF Dkt. No. 1 at ¶ 76.
12                  2.     Receiving Water Limitations C(2).
13          Receiving Water Limitation C(2) of the Storm Water Permit prohibits storm water
14   discharges that “cause or contribute to an exceedance of any applicable water quality
15   standard. Water quality standards (“WQS”) are pollutant concentration levels determined
16   by the State Board, the various regional boards, and/or the EPA to be protective of the
17   beneficial uses of the waters that receive polluted discharges. See ECF Dkt. No. 1 at ¶¶
18   50-51. WQS applicable to dischargers covered by the Storm Water Permit include those
19   set out in the Criteria for Priority Toxic Pollutants for the State of California (“CTR”),
20   which sets numeric criteria set to protect human health and the environment in the state
21   of California.5 40 C.F.R. § 131.38; see ECF Dkt. No. 1 at ¶ 52; see also Santa Monica
22   Baykeeper v. Kramer, 619 F. Supp. 2d 914, 926-27 (C.D. Cal. 2009) (“[T]he CTR is a
23
24   4
       United States Environmental Protection Agency (EPA) National Pollutant Discharge Elimination
25   System (NPDES) Multi-Sector General Permit for Stormwater Discharges Associated with Industrial
     Activity (MSGP) Authorization to Discharge Under the National Pollutant Discharge Elimination
26   System (2008) (73 Fed. Reg. 56,572) (Sept. 28, 2008), available at
     http://www.epa.gov/npdes/pubs/msgp2008_finalfs.pdf.
27   5
       Water Quality Standards; Establishment of Numeric Criteria for Priority Toxic Pollutants for the State
     of California Factsheet, EPA-823-00-008, April 2000 available at:
28   http://water.epa.gov/lawsregs/rulesregs/ctr/factsheet.cfm.
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 1   water quality standard in the General Permit, Receiving Water Limitation C(2).”).
 2                3.     Storm Water Pollution Prevention Plan and Monitoring and
 3                       Reporting Requirements.

 4          Section A(1) of the Storm Water Permit requires dischargers to develop and

 5   implement a Storm Water Pollution Prevention Plan (“SWPPP”) that complies with the

 6   requirements of the Storm Water Permit before industrial activities begin. See ECF Dkt.

 7   No. 1 at ¶ 68.

 8          Section B(1) of the Storm Water Permit requires dischargers to develop and

 9   implement a Monitoring and Reporting Program (“M&RP”) before industrial activities

10   begin. See ECF Dkt. No. 1 at ¶ 81. Section B(14) of the Storm Water Permit requires that

11   the information collected under a dischargers M&RP is to be documented each year in an

12   “Annual Report” that is submitted to the State Board. See ECF Dkt. No. 1 at ¶ 97.

13   III.    FACTUAL BACKGROUND

14          A.    Plaintiff’s Complaint and Defendants’ Failure to Respond.

15          Plaintiff filed its complaint on June 8, 2015, which sets forth six (6) well-plead

16   claims alleging that Defendants have and continue to violate the Storm Water Permit and

17   the Clean Water Act. See ECF Dkt. No. 1. The Complaint incorporated Plaintiff’s Notice

18   of Intent to File Suit letter. See ECF Dkt. No. 1 at ¶ 3. Defendants were served with the

19   complaint and related documents on July 17, 2015, and were required to answer or

20   otherwise respond to the complaint on or before August 7, 2015. See ECF Dkt. Nos. 10,

21   11; see also Declaration of Drevet Hunt in Support of Motion for Entry of Default

22   Judgment, filed concurrently herewith, ¶ 11 (“Hunt Decl.”).

23          After numerous attempts to communicate to Defendants the need for them to

24   respond to Plaintiff’s complaint, and no response forthcoming, Plaintiff filed a request to

25   the clerk to enter default. See Hunt Decl., ¶¶ 14-18; see also ECF Dkt. Nos. 15 and 16.

26   On September 9, 2015, the clerk entered default against the Defendants. See ECF Dkt.

27   No. 17. Thereafter, on September 14, 2015, this Court issued an Order to Show Cause,

28   and set a hearing for “Order To Show Cause Re Default Judgment for October 19, 2015
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 1   at 11:30 a.m. If a Motion for Default Judgment is filed prior to this hearing, the hearing
 2   on the Order To Show Cause will be discharged, and no appearance will be necessary.”
 3   ECF Dkt. No. 18.
 4           B.    Defendants’ Operations and Coverage Under the Storm Water Permit.
 5          The facility site description is set forth in section V(A) of the Complaint. See ECF.
 6   Dkt. No. 1 at ¶¶ 101-104. Defendants’ Notice of Intent to Comply with the Terms of the
 7   General Permit to Discharge Storm Water Associated with Industrial Activity (“NOI”)
 8   for the facility is dated April 20, 2012.6 See Hunt Decl., Exhibit C; see also ECF. Dkt.
 9   No. 1 at ¶ 105. The NOI identifies the operator of the facility as “Sindy Cardona.” ECF
10   Dkt. No. 1 at ¶ 107. The NOI lists the SIC code for the facility as 5093. Id. at ¶ 113.
11           C.    Defendant’s SWPPP and M&RP for the Facility.
12          The Defendants obtained coverage under the Storm Water Permit on April 20,
13   2012. See Hunt Decl., Exhibit C at 6. Defendants did not develop a SWPPP prior to
14   conducting industrial operations. See ECF Dkt. No. 1 at ¶¶ 157-159; see also Hunt Decl.,
15   Exhibit D at 15 and Exhibit E at 26 (excerpts of Defendants’ 2011/2012 and 2012/2013
16   Annual Reports admitting no SWPPP; unaware of the permit’s requirements). Plaintiff
17   sent a Public Records Act request (“PRA”) to the Regional Board on March 4, 2014
18   requesting the Defendant’s SWPPP and M&RP, and Annual Reports. See Hunt Decl.,
19   Exhibit A. On April 2, 2014 the Regional Board sent Sindy Cardona a letter for the
20   documents requested in Plaintiff’s PRA. See Hunt Decl., Exhibit B at 4. In response,
21   Defendants sent the Regional Board a copy of the facility’s SWPPP and M&RP, which is
22   dated June 11, 2014 (“SWPPP and M&RP”). See Hunt Decl., at Exhibit F (excerpts). Via
23   its PRA, Plaintiff also received the 2011/2012, 2012/2013, and 2013/2014 Annual
24   Reports. ECF Dkt. No. 1 at ¶¶ 212-217; see also Hunt Decl., Exhibits D and E.
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27   6
      Defendant’s public records submitted pursuant to the Storm Water Permit can be found in California’s
     State Water Resources Control Board’s electronic database, called the Storm Water Multiple
28   Application & Report Tracking System (“SMARTS”), available at http://smarts.waterboards.ca.gov/.
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 1          D.    Storm Water Discharges from the Facility.

 2         Defendants did not collect any samples of storm water discharges at the facility.
 3   See ECF Dkt. No. 1 at ¶ 218; see also Hunt Decl., Exhibits D and E. Waterkeeper
 4   collected samples of storm water discharges at the facility on January 24, 2013; March 8,
 5   2013; February 27, 2014; December 2, 2014, and; December 12, 2014. See ECF Dkt. No.
 6   1 at ¶¶ 147-151.
 7         Waterkeeper’s samples of storm water discharges collected at the facility contain
 8   levels of pollutants in excess of EPA Benchmark. See ECF Dkt. No. 1 at ¶ 152
 9   (identifying specific storm water samples with TSS, SC, O&G, COD, pH, iron, copper,
10   zinc, magnesium, aluminum, lead, cadmium, mercury, and silver concentrations above
11   EPA Benchmarks).
12         Waterkeeper’s samples of storm water discharges collected at the facility contain
13   levels of pollutants in excess of WQS. See ECF Dkt. No. 1 at ¶ 155 (identifying specific
14   storm water samples with copper, lead, zinc, mercury, and cadmium concentrations
15   above WQS).
16   IV.     ARGUMENTS
17         Although the Defendants are deemed to have admitted each and every allegation in
18   the Complaint (see Fed. R. Civ. P. 8(b)(6)), Plaintiff is limiting this motion to issues and
19   violations that are based solely on indisputable evidence and publically available
20   documents that the Defendants have generated. Plaintiff therefore seeks default judgment
21   on its second, fourth, fifth and sixth causes of action, but in no way concedes that each
22   cause of action is not well-plead and properly before the court.
23           A. Second Cause of Action.
24         Although Defendants have never collected a storm water sample, each sample that
25   Waterkeeper collected demonstrates that Defendants failed and continue to fail to
26   develop and implement BMPs to reduce or prevent pollutants associated with industrial
27   activities in the facility discharges to levels that are below EPA Benchmarks. See ECF
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 1   Dkt. No. 1 at ¶¶ 147-154; see also ECF Dkt. No. 1-1 at pp. 9-11 (tables compiling results
 2   of samples of storm water discharges from the facility).
 3         Plaintiff alleges that discharges of storm water containing pollutants above EPA
 4   Benchmarks indicate that BMPs have not been developed or implemented to achieve
 5   compliance with BAT/BCT, and that this occurs each time storm water discharges from
 6   facility. See ECF Dkt. No. 1 at ¶¶ 47, 154, 244. Allegations in well-plead complaints are
 7   deemed admitted unless denied in a timely responsive pleading. See Fed. R. Civ. P.
 8   8(b)(6); see also United Fin. Group, 559 F.2d at 560.
 9         For over 15 years district courts in California have applied EPA Benchmark as an
10   objective basis for evaluating the adequacy of a permittees BMPs. See, e.g., Santa
11   Monica Baykeeper v. Sunlite Salvage, Inc., Case No. CV-99-4578 WDK (C.D. Cal. Dec.
12   22, 1999), Hunt Decl., Exhibit H at 38:12-14, 40:6-10 (Storm Water Permit violations
13   found when pollutant concentrations in storm water discharges are above EPA
14   Benchmarks); Ecological Rights Found. v. Sierra Pac. Indus., Inc., Case No. C 01-0520
15   MEJ (N.D. Cal. Oct. 30, 2002), Hunt Decl., Exhibit I at 87:26-88:1, 89:16-90:18
16   (summary judgment for violations of Storm Water Permit granted where sample results
17   document pollution concentrations above EPA Benchmarks); Waterkeepers N. California
18   v. AG Indus. Mfg. Inc., 375 F.3d 913, 919 n.5 (9th Cir. 2004); Kramer, 619 F. Supp. 2d at
19   924-25; Cal. Sportfishing Prot. Alliance v. Callaway, 2012 U.S. Dist. LEXIS 169072, at
20   *9 (E.D. Cal. 2012) (finding that defendant failed to develop and implement BAT/BCT
21   based on pollutant levels in defendant’s storm water discharges in excess of EPA
22   Benchmarks).
23         Plaintiff’s well-plead allegations establish that concentrations of specific pollutants
24   in storm water discharges from Defendants’ facility exceed EPA Benchmarks (see ECF
25   Dkt. No. 1 at ¶ 152), and that Defendants have not implemented BMPs that reduce or
26   prevent pollutants in their discharges to levels that meet BAT/BCT standards as required
27   (id. at ¶ 153). Plaintiff alleges that Effluent Limitation (B)(3) is violated each and every
28   time contaminated storm water discharges from the facility due to Defendants failure to
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 1   develop or implement BMPs that achieve BAT for toxic pollutants and/or BCT for
 2   conventional pollutants. See id. at ¶¶ 245-47. Accordingly, although Plaintiff alleges
 3   Defendants violate Effluent Limitation B(3) each and every time they discharge storm
 4   water, through this motion Plaintiff only requests the Court find the Defendants liable on
 5   the occasions for which sampling data demonstrates an identified pollutant exceeding the
 6   EPA Benchmark indicating that BMPs were inadequate to reduce or eliminate that
 7   specific pollutant in the facility’s storm water discharge. Thus, Plaintiff seeks default
 8   judgment on its Second Cause of Action for violations of Effluent Limitation B(3) on
 9   forty (40) occasions. See ECF Dkt. No. 1 at ¶ 152; see also ECF Dkt. No. 1-1 at pp. 9-11.
10           B.   Fourth Cause of Action.
11
           Sampling data demonstrates that Defendants discharge storm water containing
12
     pollutants that exceed WQS. See ECF Dkt. No. 1 at ¶¶ 147-151, 155; see also ECF Dkt.
13
     No. 1-1 at pp. 11-12. Plaintiff alleges that discharges of storm water containing levels of
14
     pollutants that cause or contribute to exceedances of WQS occurs each time storm water
15
     discharges from facility. See ECF Dkt. No. 1 at ¶¶ 261-264. Allegations not denied are
16
     taken as true. See Fed. R. Civ. P. 8(b)(6); see also United Fin. Group, 559 F.2d at 560.
17
     Discharges of pollutants above the CTR is an exceedance of an applicable WQS, and thus
18
     a violation of Receiving Water Limitation C(2). See ECF Dkt. No. 1 at ¶ 63; see also
19
     Kramer, 619 F. Supp. 2d at 926-29 (liability established when sample results
20
     demonstrated exceedances of applicable water quality standards). Accordingly,
21
     Defendants are in violation of Receiving Water Limitation C(2) each time storm water
22
     discharges from the facility.
23
           While the well-plead facts establish Defendants are liable for violating Receiving
24
     Water Limitation C(2) each time they discharge, by this motion, Plaintiffs only request
25
     that the Court find Defendants liable for violating Receiving Water Limitation C(2) on
26
     dates for which sampling data demonstrates discharges contain specific pollutants above
27
     CTR. Thus, Plaintiff seeks judgment on its Fourth Cause of Action for violations of
28
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 1   Receiving Water Limitation C(2) on nineteen (19) occasions. See ECF Dkt. No. 1 at
 2   ¶ 155; see also ECF Dkt. No. 1-1 at pp.11-12.
 3            C. Fifth Cause Of Action.
 4          Section A(1) of the Storm Water Permit requires dischargers to develop and
 5   implement a SWPPP before beginning industrial activities. See ECF Dkt. No. 1 at ¶ 68;
 6   see also Storm Water Permit, Attachment 3, Section VII, “[a]s a permit holder you are
 7   required to have an SWPPP and Monitoring Program in place prior to the beginning of
 8   facility operations.” Defendants obtained coverage under the Storm Water Permit on
 9   April 20, 2012. See Hunt Decl., Exhibit C at 6; see also ECF Dkt. No. 1 at ¶ 105.
10   Defendants did not develop a SWPPP until at best June 11, 2014.7 See Hunt Decl.,
11   Exhibit F at 32; id. at Exhibit D at 15 and Exhibit E at 26 (Excerpts of Defendants
12   2011/2012 Annual Report and 2012/2013 Annual Report acknowledging that “we do not
13   have a SWPPP.”); see also ECF Dkt. No. 1 at ¶ 159. Thus, the Defendants operated the
14   facility without a SWPPP from at least April 20, 2012 to June 11, 2014, or for at least
15   782 days. Each day Defendants operated without a SWPPP is a separate and distinct
16   violation of the Clean Water Act. See Natural Res. Def. Council v. Southwest Marine,
17   Inc., 945 F. Supp. 1330, 1333 (S.D. Cal 1996) (when a permittee “operates without a
18   legally adequate…SWPPP…the violations will continue each and every day.”).
19          Defendants violated the requirement to develop a SWPPP when industrial
20   activities begin for 782 days. Thus, Plaintiff seeks default judgment for 782 violations of
21   Section A of the Storm Water Permit.
22   //
23   //
24   //
25   //
26
27   7
      Plaintiff notes it is “at best” that the SWPPP was developed by June 11, 2014, because the 2012/2013
     Annual Report is signed August 8, 2014 by defendant Ms. Cardona and still states “we do not have a
28   SWPPP.” See Hunt Decl., Exhibit D.
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 1           D. Sixth Cause Of Action.
           Section B(1) of the Storm Water Permit requires dischargers to develop and
 2
     implement a M&RP before beginning industrial activities. See ECF Dkt. No. 1 at ¶ 81;
 3
     see also Storm Water Permit, Attachment 3, Section VII, “[a]s a permit holder you are
 4
     required to have an SWPPP and Monitoring Program in place prior to the beginning of
 5
     facility operations.” The Defendants obtained coverage under the Storm Water Permit on
 6
     April 20, 2012. See Hunt Decl., Exhibit C at 6; see also ECF Dkt. No. 1 at ¶ 105.
 7
     Defendants did not develop a M&RP until at best June 11, 2014. See Hunt Decl., Exhibit
 8
     D at 15 and Exhibit E at 26 (Excerpts of Defendants 2011/2012 and 2012/2013 Annual
 9
     Reports acknowledging that “we were unaware of the requirements of the permit.”); see
10
     also id. at Exhibit F at 32; see also ECF Dkt. No. 1 at ¶ 207.
11
           In fact, as documented in the Annual Reports, the Defendants acknowledge that
12
     they did not perform any of the required monitoring or reporting. Id. at Exhibits D and E.
13
     Thus, the Defendants operated the facility without a M&RP from at least April 20, 2012
14
     to June 11, 2014, or at least 782 days. Each day Defendants operated without a M&RP is
15
     a separate and distinct violation of the Clean Water Act. See Southwest Marine, Inc., 945
16
     F. Supp. at 1333 (operating without an adequate plan required by the permit is a daily
17
     violation).
18
           Defendants violated the requirement to have a M&RP when industrial activities
19
     begin for 782 days. Thus, Plaintiff seeks default judgment for 782 violations of Section B
20
     of the Storm Water Permit.
21
     V.      RELIEF REQUESTED
22
           To remedy the above-described violations of the Clean Water Act and the Storm
23
     Water Permit, which are based on Plaintiff’s well-pleaded, undisputed allegations,
24
     Plaintiff respectfully requests that the Court grant the following relief:
25
           A.      Declaratory Relief.
26
           Plaintiff’s request a Court order declaring Defendants to have violated and to be in
27
     violation of the Storm Water Permit and Section 301(a) of the CWA, 33 U.S.C.
28
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 1   § 1311(a), for their violations of the substantive and procedural requirements of the
 2   Storm Water Permit, which are described in detail herein.
 3         B.     Injunctive Relief.
 4         Plaintiff’s action for injunctive relief under the Clean Water Act is authorized by
 5   33 U.S.C. § 1365(a). Although the Storm Water Permit, which was first issued in 1992
 6   and reissued in 1997 has been reissued in 2014, all of the provisions being enforced in
 7   this action have remained unchanged in the 2014 Permit, and thus injunctive relief is
 8   warranted. Injunctive relief for ongoing violations that are in both an expired permit and
 9   a reissued permit is authorized by the Clean Water Act and applicable caselaw. See 33
10   U.S.C. § 1365; Pub. Interest Research Group of N.J. v. Carter-Wallace, Inc., 684 F.
11   Supp. 115, 121-22 (D.N.J. 1988) (“Limitations of an expired permit, when those
12   limitations have been transferred unchanged to the newly issued permit, may be viewed
13   as currently in effect…[and] … those limitations which span both an expired permit and a
14   current one may properly be enforced by an injunctive order”).
15         Here the Effluent Limitation and Receiving Water Limitation that Defendants are
16   in violation of are the same in both the Storm Water Permit and the 2014 Storm Water
17   Permit. Specifically, Effluent Limitation (B)(3) of the Storm Water Permit requires
18   dischargers to “reduce or prevent pollutants associated with industrial activity in storm
19   water discharges and authorized non-storm water discharges through the implementation
20   of BAT for toxic or non-conventional pollutants and BCT for conventional pollutants.”
21   The 2014 Storm Water Permit contains this same requirement at Effluent Limitation
22   V(A), which states, “[d]ischargers shall implement BMPs that comply with the
23   BAT/BCT requirements of this General Permit to reduce or prevent discharges of
24   pollutants in their storm water discharge in a manner that reflects best industry practice
25   considering technological availability and economic practicability and achievability.”
26         Receiving Water Limitation C(2) of the Storm Water Permit prohibits storm water
27   discharges that “cause or contribute to an exceedance of any applicable water quality
28   standard in a Statewide Water Quality Control Plan or the applicable Regional Board’s
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 1   Basin Plan.” The 2014 Storm Water Permit contains this same requirement at Receiving
 2   Water Limitation VI(A), which states, “[d]ischargers shall ensure that industrial storm
 3   water discharges and authorized NSWDs do not cause or contribute to an exceedance of
 4   any applicable water quality standards in any affected receiving water.” Thus, injunctive
 5   relief requiring compliance with the requirement to achieve BAT/BCT and with WQS is
 6   appropriate.
 7         Because continuing commission of the acts and omissions alleged herein would
 8   irreparably harm Plaintiff and its members, for which harm Plaintiff has no plain, speedy,
 9   or adequate remedy at law, Plaintiff requests the Court enter injunctive relief requiring
10   Defendants’ compliance with the Storm Water Permit’s Effluent Limitation (B)(3) and
11   Receiving Water Limitation (C)(2), which have been continued in the 2014 Permit as
12   Effluent Limitation V(A) and VI(A), respectively, as set forth above.
13         C.       Civil Penalties.
14         Pursuant to sections 309(d) and 505 of the Clean Water Act, 33 U.S.C. §§ 1319(d),
15   1365, and 40 C.F.R. § 19.4, by committing the acts and omissions alleged above,
16   Defendants are subject to an assessment of civil penalties up to $37,500 per day per
17   violation for each and every violation of the Clean Water Act.
18                  1.    Penalties for Clean Water Act Violations.
19         Penalties are mandatory once liability for violations of the Clean Water Act has
20   been established. See Leslie Salt Co. v. United States, 55 F.3d 1388, 1397 (9th Cir. 1995);
21   see also Southwest Marine, Inc. 236 F.3d at 1001. The court has discretion in setting the
22   penalty amount after considering the statutory factors, which include (1) the seriousness
23   of the violations, (2) the economic benefit resulting from the violation, (3) defendant’s
24   history of violations, (4) good faith efforts to comply with the applicable requirements,
25   (5) the economic impact of the penalty on the violator, and (6) such other matters as
26   justice may require. See 33 U.S.C. § 1319(d); see also Southwest Marine, 236 F.3d at
27   1001-1002. The penalty must be large enough to deter future violations, and thus do not
28   just become a cost of doing business. See Friends of the Earth v. Laidlaw Envt’l Servs.,
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 1   528 U.S. 167, 185 (2000); see also Pub. Interest Research Group v. Powell Duffryn
 2   Terminals Inc., 720 F. Supp. 1158, 1166 (D.N.J. 1989) aff’d in part, rev’d in part on
 3   other grounds, 913 F.2d 64 (3d Cir. 1990) (“the amount of the civil penalty must be high
 4   enough to insure that polluters cannot simply absorb the penalty as a cost of doing
 5   business.”); see also Tull v. United States, 481 U.S. 412, 425 (1987) (“Penalties assessed
 6   by the judges should be sufficiently higher than penalties to which the Agency would
 7   have agreed to in settlement to encourage violators to settle.”) (quoting 123 Cong. Rec.
 8   39,190-39, 191 (1977)).
 9         The fact that the Defendants’ violations are of an expired permit does not allow
10   them to escape penalties for their violations. See Illinois v. Outboard Marine, Inc., 680
11   F.2d 473, 480-81 (7th Cir. 1982) (Court permitted a grant of relief for violations of an
12   expired permit); Sierra Club v. Aluminum Co. of Am., 585 F. Supp. 842, 853-54
13   (N.D.N.Y. 1984) (holding that the Clean Water Act’s legislative intent and public policy
14   favor allowing penalties for violations of an expired permit); see also Carter-Wallace,
15   Inc., 684 F. Supp. 121-22.
16                2.    Methods for Calculating Penalties.
17         There are two methods courts utilize when calculating penalties, either the “top-
18   down method” or the “bottom-up method.” See United States v. Municipal Auth. Of
19   Union Township, 150 F.3d 259, 265 (3rd Cir. 1998) (courts have discretion as to which
20   method to employ). In the top-down method, courts begin their penalty calculation at the
21   statutory maximum and then only adjust downward as warranted by consideration of the
22   Clean Water Act’s section 309(d) factors. See Atlantic States Legal Found. v. Tyson
23   Foods, 897 F.2d 1128, 1142 (11th Cir. 1990). In the bottom-up method, courts either
24   begin the calculation at zero, or at the sum equal to defendants’ economic benefit of non-
25   compliance and adjust the civil penalty upward as warranted by considering the section
26   309(d) factors. United States v. Smithfield Foods, Inc., 191 F.3d 516, 528-29 (4th Cir.
27   1999).
28        The first 309(d) factor is seriousness of the violations. Proof of actual harm is not
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 1   required. Public Interest Research Group of N.J. v. Powell Duffryn Terminals Inc., 913
 2   F.2d 64, 79 (3rd Cir. 1990) (Powell Duffryn Terminals II). The second factor is the
 3   economic impact the penalty will have and defendant’s ability to pay. The burden is on
 4   the defendant to demonstrate that any reduction in its civil penalty should be calculated
 5   because of the penalty’s economic impact on the defendant. See Powell Duffryn
 6   Terminals, Inc., 720 F. Supp. at 1166 (reasoning that defendant had not supported its
 7   argument that it was in a relatively poor economic position). The third penalty
 8   consideration is the defendant’s good faith efforts to comply. While good faith efforts at
 9   complying may lower the penalty, a lack of such efforts to comply, or affirmative
10   recalcitrance in violating the Clean Water Act favors increasing penalties. See United
11   States v. Key West Towers, Inc., 720 F. Supp. 963, 965-66 (S.D. Fla. 1989). The fourth
12   penalty factor is the defendant’s prior history of violations, which if substantial weighs in
13   favor of increasing the civil penalty. See Powell Duffryn Terminals Inc., 720 F. Supp. at
14   1163 (finding an 11 year history of violations).
15                3.     Calculating Penalties for Defendants’ Clean Water Act Violations.
16         As to the amount of penalties appropriate here, given the lack of evidence resulting
17   from Defendants refusal to respond to this case, and evidence demonstrating a lack of
18   willingness to comply with the Storm Water Permit the top-down method should be
19   utilized, and a substantial penalty to deter future violations should be imposed. See, e.g.,
20   Tyson Foods, 897 F.2d at 1137-40. With respect to the seriousness of the violations,
21   Plaintiff’s complaint alleges six claims against the Defendants including discharging
22   storm water containing levels of pollutants that violate water quality standards set to
23   protect human health and the environment. The violations set out in Plaintiff’s complaint
24   are serious. With respect to the 2nd and 3rd penalty factors—economic benefit from non-
25   compliance and economic impact of penalty assessment—Plaintiff has no specific
26   information as to either factor. However, by failing to develop and implement a SWPPP
27   for several years, and failing to take any demonstrable measures to achieve compliance
28   with the Permit, it is reasonable to infer that Defendants have realized some economic
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 1   benefit. Finally, with respect to Defendants’ history of violations and good faith efforts to
 2   comply, Defendants began operations without obtaining Storm Water Permit coverage,
 3   and even when they did file for coverage, they continued operations without complying
 4   with the basic requirements such as drafting pollution plans, or collecting samples,
 5   claiming they were “unaware” of the permit’s requirements. See Hunt Decl., Exhibit D at
 6   15 and Exhibit E at 26.
 7          In a case directly on point, the court awarded $2,925,000.00 in penalties on a
 8   motion for default judgment for only 810 violations of the Storm Water Permit. Cal.
 9   Sportfishing Prot. Alliance v. Callaway, 2012 U.S. Dist. LEXIS 116719, at *5 n.3 (E.D.
10   Cal. Aug. 17, 2012) (report and recommendation adopted in full at 2012 U.S. Dist.
11   LEXIS 146598, at *1-2 (E.D. Cal. Oct. 10, 2012). Here, as in Callaway, the court has no
12   evidence regarding good faith efforts to comply, the economic impact of the penalty on
13   Defendants, or any other evidence favoring a reduction of the penalty because the
14   Defendants have failed to respond to the complaint. Thus there is no evidence the
15   penalties should be adjusted downward. See Callaway, 2012 U.S. Dist. LEXIS 116719, at
16   *4.
17          Thus, based on the seriousness of the violations, including Defendants failure to
18   even obtain permit coverage, Plaintiff requests that based on the 1,623 violations (40 for
19   second cause of action, 19 for fourth cause of action, 782 for the fifth and sixth causes of
20   action respectively), the Court assess $3,0008 per violation for a total of $4,869,000.00 in
21   civil penalties.
22          D.      Partial Reimbursement of Plaintiff’s Fees and Costs Incurred.
23          Plaintiff requests partial reimbursement of its litigation fees and costs incurred in
24   filing its citizen enforcement action pursuant to section 505(d) of the Clean Water Act,
25
26   8
       While Plaintiff believes a higher base amount may be warranted, there is a lack of information for the
27   Clean Water Act penalty factors due to Defendants’ failure to respond to the complaint, Plaintiff
     therefore looks to the mandatory minimum penalty amount used for serious violations of California’s
28   state water quality code, which is $3,000 per violation. See Water Code § 13385(h).
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 1   which authorizes the reimbursement of litigation fees and costs to prevailing or
 2   substantially prevailing parties. 33 U.S.C. § 1365(d). Section 505(d) provides:
 3         The court, in issuing any final order in any action brought pursuant to this section,
           may award costs of litigation (including reasonable attorney and expert witness
 4
           fees) to any prevailing or substantially prevailing party, whenever the court
 5         determines such award is appropriate.
 6   33 U.S.C. § 1365(d).
 7         Further, it is “Congress’ clear intention … that citizen plaintiffs are not to be
 8   treated as ‘nuisances or troublemakers’ but rather as ‘welcomed participants in the
 9   vindication of environmental interests.’” Proffitt v. Mun. Auth. of Borough of Morrisville,
10   716 F. Supp. 837, 844 (E.D. Pa 1989) (quoting Friends of the Earth v. Carey, 535 F.2d
11   165, 172 (2d Cir. 1976)); see also Sierra Club v. Chevron U.S.A., Inc., 834 F.2d 1517,
12   1525 (9th Cir. 1987) (underscoring that citizen suits perform important public function);
13   Tyson Foods, Inc., 897 F.2d at 1136 (“citizen suits are an important supplement to
14   government enforcement of the Clean Water Act, given that the government has only
15   limited resources to bring its own enforcement actions”).
16         Local Rule 55-3 sets out a formula applicable to the recovery of reasonable
17   attorneys’ fees in default judgment motions when the underlying statute authorizes such a
18   recovery. Where the amount of judgment is over $100,000 as is requested here, a party
19   can recover $5,600 plus 2% of the amount over $100,000. The amount is exclusive of
20   costs. Id. Using this formula Plaintiff’s fee recovery would be $100,980 ($5600 plus 2 %
21   of $4,869,000 penalty less the $100,000, which is $95,380, for a total of $100,980).
22   Plaintiff has only incurred $38,783.50 in fees, and $4,132.54 in costs in investigating
23   Defendants industrial operations and non-compliance with the Clean Water Act, initiating
24   the citizen enforcement, and research and writing this motion and other litigation-related
25   documents. See Hunt Decl., ¶¶ 5-21, Exhibit J at 104; see also Declaration of Layne
26   Friedrich in Support of Motion for Entry of Default Judgment, filed concurrently
27   herewith (“Friedrich Decl.”), Exhibit A. Because Plaintiff has incurred fewer fees than
28   are allowed under the formula set forth in Local Rule 55-3, and because the Clean Water
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 1   Act expressly provides for recovery of fees and costs by prevailing parties, Plaintiff seeks
 2   the actual amounts incurred, as set out below, and in the Hunt and Friedrich declarations.
 3                1.     Plaintiff’s Attorneys’ Fees Are Reasonable and Recoverable.
 4         A party entitled to recover attorneys’ fees under the Clean Water Act may recover
 5   all reasonable fees, which is the number of hours reasonably expended on the litigation
 6   multiplied by a reasonable hourly rate. See Hensley v. Eckerhart, 461 U.S. 424, 433
 7   (1983).
 8                          i. The Number of Hours Plaintiff’s Counsel Expended Is
 9                             Reasonable.
           The number of hours spent on this action is reasonable. It reflects years of
10
     investigating the facility and its impacts on local waterways, time and resources spent
11
     obtaining and reviewing information necessary to initiate this enforcement action, and
12
     time and expenses incurred drafting the notice letter and complaint. See Hunt Decl., ¶¶ 5-
13
     23 and Exhibit J; Friedrich Decl., Exhibit A.
14
                            ii. Plaintiff’s Counsel’s Rates Are Reasonable.
15
           Here, San Francisco bay area billing rates are appropriately applied to the attorney
16
     hours incurred in this matter, rather than Los Angeles rates, to the extent that there is a
17
     discrepancy between the two locales. A district court usually looks to the local forum
18
     when determining reasonable billing rates. See Davis v. Mason County, 927 F.2d 1473,
19
     1488 (9th Cir. 1991). But courts can award reasonable rates for attorneys based on the
20
     attorney’s forum, rather than where the court sits. See Edwards et al. v. City of Colfax,
21
     2011 U.S. Dist. LEXIS 17105, at *22-23 (E.D. Cal. Feb. 15, 2011) (awarding attorneys in
22
     this action San Francisco rates for work performed in Sacramento); see also Gates v.
23
     Deukmejian, 987 F.2d 1392, 1405 (9th Cir. 1992) (San Francisco rates awarded in
24
     Eastern District of California).
25
           In determining the reasonableness of an attorney’s fee, courts also consider the
26
     “experience held by counsel.” Moreno v. Sacramento, 534 F.3d 1106, 1114 (9th Cir.
27
     2008). The requested rates are based on the experience of the attorneys, specializing in
28
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 1   Clean Water Act litigation, and are comparable to what similarly experienced attorneys
 2   rates are in the San Francisco Bay area. See Hunt Decl., ¶¶ 31-33; Friedrich Decl., ¶¶ 4-8;
 3   see also San Francisco Baykeeper v. W. Bay Sanitary Dist., 2011 U.S. Dist. LEXIS
 4   138093, at *20-26 (N.D. Cal. Dec. 1, 2011). The rates Plaintiff’s counsel seeks have been
 5   found to be reasonable and awarded by both the Northern and the Eastern Districts in
 6   Clean Water Act citizen enforcement actions. See San Francisco Baykeeper v. W. Bay
 7   Sanitary Dist., 2011 U.S. Dist. LEXIS 138093, at *26; see also Edwards v. City of
 8   Colfax, 2011 U.S. Dist. LEXIS 17105, at *24-25. Specifically, in West Bay, the Court
 9   ruled that the rates billed for attorneys at Lawyers for Clean Water, Inc. are “reasonable,
10   given the experience of the attorneys and the rate’s consistency with prevailing rates of
11   other San Francisco attorneys who specialize in public interest environmental litigation.”
12   W. Bay Sanitary Dist., 2011 U.S. Dist. LEXIS 138093, at *26. Plaintiff’s counsel here
13   has litigated throughout California and recovers its San Francisco Bay area rates through
14   settlement of other Clean Water Act citizen enforcement actions, including in cases
15   representing Los Angeles Waterkeeper. See Hunt Decl., ¶¶ 24-32; Friedrich Decl., at ¶¶
16   4-11. Finally, here the requested amount and rates are similar to those awarded in
17   Callaway. Callaway, 2012 U.S. Dist. LEXIS 116719, at *5.
18         Plaintiff retained counsel in San Francisco with demonstrated experience
19   successfully enforcing the Clean Water Act on behalf of citizens throughout California.
20   The requested San Francisco rates are reasonable and should be applied to the hours
21   sought which were reasonably incurred. Specifically, Plaintiff’s counsel’s loadstar based
22   on the reasonable number of hours expended times counsel’s reasonable rates is
23   $38,783.50.
24                 2.   Plaintiff’s Costs Incurred Are Reasonable and Recoverable.
25         In addition to its attorneys’ fees, a citizen plaintiff can recover reasonable
26   expenses. See Keithley v. Homestore.com, Inc., 2009 U.S. Dist. LEXIS 2720, at *28
27   (N.D. Cal. Jan. 7, 2009).
28        In bringing this citizen enforcement action, Plaintiff has incurred $4,132.54 in
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 1   costs. Hunt Decl., Exhibit L. These costs are the type of expenses reasonably incurred in
 2   litigation, and are recoverable.
 3         In sum, Plaintiff seeks to recover $38,783.50 in fees and $4,132.54 costs for a total
 4   of $42,916.04.
 5   VI.     CONCLUSION
 6         Plaintiff’s complaint included well-pleaded and factually supported claims, to
 7   which Defendants failed to respond. The allegations are therefore deemed admitted and
 8   entry of a default judgment is appropriate. Plaintiff requests that the court enter judgment
 9   as set forth in the [Proposed] Order Entering Default Judgment filed concurrently
10   herewith.
11
12   Dated: October 14, 2015                       Respectfully submitted,
13                                                 LAWYERS FOR CLEAN WATER, INC.
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15                                                       /s/ Drevet Hunt
16                                                 Drevet Hunt
                                                   Attorney for Plaintiff
17                                                 Los Angeles Waterkeeper
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